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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA, Criminal No. 4:21-cr- 00079 -sm¢- (Ff - |

Vv.
PLEA AGREEMENT
NICOLE POOLE FRANKLIN,

Defendant.

The United States of America (also referred to as “the Government”),
Defendant, NICOLE POOLE FRANKLIN, and Defendant’s attorney, enter into this
Plea Agreement.
A. CHARGES

1. Subject Offenses. Defendant will waive Indictment (by executing a
separate Waiver of Indictment form) and plead guilty to Counts 1 and 2 of a United
States Attorney’s Information charging violations of Title 18, United States Code,
Section 249(a)(1)(B)(ii), that is Hate Crime Acts.

2. No Charges to be Dismissed. There are no charges to be dismissed.
B. MAXIMUM PENALTIES

2. Maximum Punishment. Defendant understands that the crimes to
which Defendant is pleading guilty each carries a maximum sentence of life in prison;
a maximum fine of $250,000; and a term of supervised release of not more than 5

years. A mandatory special assessment of $100 per count must also be imposed by
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the Court. Defendant understands that these sentences may be imposed
consecutively.

A, Supervised Release — Explained. Defendant understands that, during
any period of supervised release, Defendant will be under supervision and will be
required to comply with certain conditions. If Defendant were to violate a condition
of supervised release, Defendant could be sentenced to not more than 5 years in
prison, without any credit for time previously served.

5. Detention. Pursuant to the Mandatory Detention for Offenders
Convicted of Serious Crimes Act (18 U.S.C. § 3143), Defendant agrees to remain in
custody following the completion of the entry of Defendant’s guilty plea to await the
imposition of sentence.

C. NATURE OF THE OFFENSE — FACTUAL BASIS

6. Klements Understood. Defendant understands that to prove the
offense alleged under Count 1 (Hate Crime-Minor Victim #1), the Government
would be required to prove beyond a reasonable doubt the following elements:

(a) Defendant willfully caused bodily injury to Minor Victim #1, or
attempted to do so, using a dangerous weapon;

(b) Defendant acted because of Minor Victim #1’s actual or perceived
race, color, religion, or national origin;

(c) Defendant attempted to kill Minor Victim #1; and

(d) Some or all acts in furtherance of this offense occurred in the
Southern District of Iowa.
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de Elements Understood. Defendant understands that to prove the

offense alleged under Count 2 (Hate Crime-Minor Victim #2), the Government

would be required to prove beyond a reasonable doubt the following elements:

(a) Defendant willfully caused bodily injury to Minor Victim #2, or
attempted to do so, using a dangerous weapon;

(b) Defendant acted because of Minor Victim #2’s actual or perceived
race, color, or national origin;

(c) Defendant attempted to kill Minor Victim #2; and

(d) Some or all acts in furtherance of this offense occurred in the
Southern District of lowa.

8. Factual Basis. As a factual basis for Defendant’s plea of guilty,

Defendant admits the following:

(a)

(b)

(c)

(d)

(e)

Count 1

On or about December 9, 2019, at approximately 3:38 pm, the
defendant, Nicole Poole Franklin, was driving a motor vehicle
(1998 Jeep Grand Cherokee) on Creston Avenue, in Des Moines,
Iowa. Des Moines is in the Southern District of lowa;

Minor Victim #1 and a minor family member were walking on the
sidewalk adjacent to Creston Avenue;

Poole Franklin observed Minor Victim #1 and believed or
perceived that the minor was of Middle Eastern (Arabian) or
African descent;

Poole Franklin willfully and intentionally drove her motor vehicle
up over the curb, onto the sidewalk, towards both minors, and
struck Minor Victim #1, causing bodily injury, including physical
pain, cuts, bruising and swelling;

Poole Franklin acted because of Minor Victim #1’s actual or
perceived race;
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(f)

(g)

(h)

(1)

Q)

(k)

()

(m)

(n)

(0)

(p)

In a_ subsequent post-Miranda statement, Poole Franklin
admitted that she willfully chose to drive at and strike Minor
Victim #1 because of the minor’s actual or perceived Middle
EasterArabic) or African descent:

Poole Franklin willfully struck Minor Victim #1 with her motor
vehicle in an attempt to kill the minor; and

After striking Minor Victim #1, Poole Franklin drove away from
the scene.

Count 2

On or about December 9, 2019, at approximately 4:09 to 4:23 pm,
the defendant, Nicole Poole Franklin, was driving a motor vehicle
(1998 Jeep Grand Cherokee) near Indian Hills Junior High
School, in Clive, Iowa. Clive is in the Southern District of Iowa;

Minor Victim #2 was walking on a sidewalk adjacent to Indian
Hills Drive and 98rd Street:

Poole Franklin observed Minor Victim #2 and believed or
perceived that the minor was Mexican:

Poole Franklin willfully and intentionally drove her motor vehicle
up over the curb, over the sidewalk, and struck Minor Victim #2
with the front of her motor vehicle, causing serious bodily injury,
including physical pain, cuts, bruising, swelling and a concussion:

Poole Franklin acted because of Minor Victim #2’s actual or
perceived race;

Poole Franklin admitted that she willfully chose to drive at and
strike Minor Victim #2 because of the minor’s actual or perceived
Mexican heritage;

Poole Franklin willfully struck Minor Victim #2 with her motor
vehicle in an attempt to kill the minor; and

After striking Minor Victim #2, Poole Franklin drove away from
the scene.

 
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9. Truthfulness of Factual Basis. Defendant acknowledges that the above
statements are true. Defendant understands that, during the change of plea hearing,
the judge and the prosecutor may ask Defendant questions under oath about the
offense to which Defendant is pleading guilty, in the presence of Defendant’s attorney.
Defendant understands that Defendant must answer these questions truthfully, and
that Defendant can be prosecuted for perjury if Defendant gives any false answers.

10. Waiver of Rule 410 Rights. Defendant expressly waives Defendant’s
rights under Rule 410 of the Federal Rules of Evidence and agrees that all factual
statements made in this Plea Agreement, including under the Factual Basis, are
admissible against Defendant. Should Defendant fail to plead guilty pursuant to this
Plea Agreement or move to withdraw Defendant's plea or to set aside Defendant’s
conviction, then these admissions may be used against Defendant in the
Government’s case-in-chief and otherwise, including during the continuing

prosecution of this case.

 

ll. Venue. Defendant agrees that venue for this case is proper for the
United States District Court for the Southern District of Iowa.
D. SENTENCING

12. Sentencing Guidelines. Defendant understands that Defendant’s
sentence will be determined by the Court after considering the advisory United States
Sentencing Guidelines, together with other factors set forth by law. The Sentencing
Guidelines establish a sentencing range based upon factors determined to be present

in the case, which include, but are not limited to the following:

 
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(a)

(b)

(c)

(d)

(e)

(f)

(g)

The nature of the offenses to which Defendant is pleading guilty,
with the parties stipulating and agreeing as a recommendation to
the district court, that pursuant to USSG §2H1.1(a)(1), the civil
rights offense has an underlying offense of attempted murder,
which is governed by §2A2.1(a)(1), and the base offense level is
33:

Whether the offense involved a vulnerable victim; with the
parties stipulating and agreeing as a recommendation to the
district court, that both Minor Victim #1 and Minor Victim #2
were vulnerable victims, and, pursuant to USSG §3A1.1(b)(1), a
2-level upward adjustment is warranted;

Whether the offense involved serious bodily injury; with the
parties stipulating and agreeing as a recommendation to the
district court, Minor Victim #2 suffered serious bodily injury, and,
pursuant to USSG §2A2.1(b)(1)(B), a 2-level upward adjustment
is warranted:

The nature and extent of Defendant’s criminal history (prior
convictions);

Whether pursuant to USSG §3D1.4, grouping rules should be
applied; and

Acceptance or lack of acceptance of responsibility.

Defendant understands that, under some circumstances, the Court may “depart” or

“vary” from the Sentencing Guidelines and impose a sentence more severe or less

severe than provided by the guidelines, up to the maximum in the statute of

conviction. Defendant has discussed the Sentencing Guidelines with Defendant’s

attorney.

 
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13. Acceptance of Responsibility. The Government agrees to recommend

that Defendant receive credit for acceptance of responsibility under USSG §3E1.1.
The Government reserves the right to oppose a reduction under §3E1.1 if after the
plea proceeding Defendant obstructs justice, fails to cooperate fully and truthfully
with the United States Probation Office, attempts to withdraw Defendant’s plea, or
otherwise engages in conduct not consistent with acceptance of responsibility. Ifthe
base offense level is 16 or above, as determined by the Court, the Government agrees
that Defendant should receive a 3-level reduction, based on timely notification to the
Government of Defendant’s intent to plead guilty.

14. Presentence Report. Defendant understands that the Court may defer
a decision as to whether to accept this Plea Agreement until after a Presentence
Report has been prepared by the United States Probation Office, and after
Defendant’s attorney and the Government have had an opportunity to review and
challenge the Presentence Report. The parties are free to provide all relevant
information to the Probation Office for use in preparing a Presentence Report.

15. Disclosure of Presentence Investigation Reports. The United States
District Court for the Southern District of Iowa has issued the following
Administrative Order:

The presentence investigation report is a sealed and confidential document.

Unless specifically authorized by the district court, a defendant may not

disseminate, disclose, or distribute a presentence investigation report, or any

part or page of a presentence investigation report, in either draft or final form.

A defendant who violates this order, may be subject to prosecution for contempt

of court under 18 U.S.C. § 401(8). This order does not apply to a defendant’s
review of a presentence investigation report with the defendant’s own attorney.

 
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Defendant acknowledges and understands this order.

16. Evidence at Sentencing. The parties may make whatever comment and
evidentiary offer they deem appropriate at the time of sentencing and entry of plea,
provided that such offer or comment does not violate any other provision of this Plea
Agreement. Nothing in this Plea Agreement restricts the right of Defendant or any
victim to make an allocution statement, to the extent permitted under the Federal
Rules of Criminal Procedure, nor does this Plea Agreement convey any rights to
appear at proceedings or make statements that do not otherwise exist.

17. Sentence to be Decided by Judge ~No Promises. This Plea Agreement
is entered pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure,
The Government agrees to recommend that that the district court impose a sentence
of 324 months’ imprisonment. The Defendant may present evidence or argument to
the Court in support of whatever sentence she believes is appropriate. Further, the
parties agree to recommend that this sentence run concurrently to any state sentence
imposed in Iowa District Court for Polk County No. FECR334319. Defendant
understands that the final sentence, including the application of the Sentencing
Guidelines and any upward or downward departures, is within the sole discretion of
the sentencing judge, and that the sentencing judge is not required to accept any
factual or legal stipulations agreed to by the parties. Any estimate of the possible
sentence to be imposed, by a defense attorney or the Government, is only a prediction,
and not a promise, and is not binding. Therefore, it is uncertain at this time what

Defendant’s actual sentence will be.

 
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18. No Right to Withdraw Plea. Defendant understands that Defendant

will have no right to withdraw Defendant’s plea, or if the sentence imposed, or the
application of the Sentencing Guidelines, is other than what Defendant anticipated,
or if the sentencing judge declines to follow the parties’ recommendations.

E. FINES, COSTS AND RESTITUTION

19. Fines and Costs. Issues relating to fines and/or costs of incarceration

 

are not dealt with in this agreement, and the parties are free to espouse their
respective positions at sentencing,

20. Special Assessment. Defendant agrees to pay the mandatory special

assessment of $200 ($100 per count) at or before the time of sentencing, as required
by 18 U.S.C. § 3013.

21. Restitution. Defendant agrees that the Court should impose an order

 

of restitution for all relevant conduct in an amount to be determined by the Court;
that such order of restitution shall be due and payable immediately: and that if
Defendant is not able to make full payment immediately, Defendant shall cooperate
with the United States Probation Office in establishing an appropriate payment plan,
which shall be subject to the approval of the Court, and thereafter in making the
required payments. Any such payment plan does not preclude the Government from
utilizing any collections procedures pursuant to the Federal Debt Collections Act and

including the Treasury offset program.

 
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22. Financial Statement. Defendant agrees to complete truthfully and in
full a financial statement provided by the U.S. Attorney’s Office, and return the
financial statement to the U.S. Attorney’s Office within 30 days of the filing of this
Plea Agreement.

F, LIMITED SCOPE OF AGREEMENT

23. Limited Scope of Agreement. This Plea Agreement does not limit, in
any way, the right or ability of the Government to investigate or prosecute Defendant
for crimes occurring outside the scope of this Plea Agreement. Additionally, this
Plea Agreement does not preclude the Government from pursuing any civil or
administrative matters against Defendant, including, but not limited to, civil tax
matters and civil forfeiture which arise from, or are related to, the facts upon which
this investigation is based.

24, Agreement Limited to Southern District of Iowa and Criminal Section
of the Civil Rights Division. This Plea Agreement is limited to the United States
Attorney’s Office for the Southern District of lowa and the Criminal Section of the
Civil Rights Division of the U.S. Department of Justice, and cannot bind any other
federal, state or local prosecuting, administrative, or regulatory authorities.

G. WAIVER OF TRIAL, APPEAL AND POST-CONVICTION RIGHTS

25. Trial Rights Explained. Defendant understands that this guilty plea

waives the right to:

(a) Continue to plead not guilty and require the Government to prove
the elements of the crime beyond a reasonable doubt;

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(b) A speedy and public trial by jury, which must unanimously find
Defendant guilty before there can be a conviction;

(c) The assistance of an attorney at all stages of trial and related
proceedings, to be paid at Government expense if Defendant
cannot afford to hire an attorney;

(d) Confront and cross-examine adverse witnesses;

(e) Present evidence and to have witnesses testify on behalf of
Defendant, including having the Court issue subpoenas to compel
witnesses to testify on Defendant’s behalf:

(f) Not testify or have any adverse inferences drawn from the failure
to testify (although Defendant also has the right to testify, if
Defendant so chooses); and

(g) If Defendant is convicted, the right to appeal, with the assistance
of an attorney, to be paid at Government expense if Defendant
cannot afford to hire an attorney.

26. Waiver of Appeal and Post-Conviction Review. Defendant knowingly
and expressly waives any and all rights to appeal Defendant’s conviction in this case,
including a waiver of all motions, defenses and objections which Defendant could
assert to the charge(s), or to the Court’s entry of judgment against Defendant; except
that both Defendant and the United States preserve the right to appeal any sentence
imposed by the Court, to the extent that an appeal is authorized by law. Also,
Defendant knowingly and expressly waives any and all rights to contest Defendant’s
conviction and sentence in any post-conviction proceedings, including any
proceedings under 28 U.S.C. § 2255. These waivers are full and complete, except

that they do not extend to the right to appeal or seek post-conviction relief based on

grounds of ineffective assistance of counsel or prosecutorial misconduct.

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H. VOLUNTARINESS OF PLEA AND OPPORTUNITY TO CONSULT
WITH COUNSEL

27. Voluntariness of Plea. Defendant represents that Defendant's decision

to plead guilty is Defendant’s own, voluntary decision, and that the following is true:

(a)

(b)

(c)

(d)

Defendant has had a full opportunity to discuss all the facts and
circumstances of this case with Defendant's attorney, and
Defendant has a clear understanding of the charges and the
consequences of this plea, including the maximum penalties
provided by law.

No one has made any promises or offered any rewards in return
for this guilty plea, other than those contained in this written
agreement.

No one has threatened Defendant or Defendant’s family to induce
this guilty plea.

Defendant is pleading guilty because in truth and in fact
Defendant is guilty and for no other reason.

28. Consultation with Attorney. Defendant has discussed this case and
aed On With Attorney

this plea with Defendant’s attorney and states that the following is true:

(a)

(b)

(c)

Defendant states that Defendant is satisfied with the
representation provided by Defendant’s attorney.

Defendant has no complaint about the time or attention
Defendant's attorney has devoted to this case nor the advice the
attorney has given.

Although Defendant's attorney has given Defendant advice on
this guilty plea, the decision to plead guilty is Defendant’s own
decision. Defendant’s decision to enter this plea was made after
full and careful thought, with the advice of Defendant’s attorney,
and with a full understanding of Defendant’s rights, the facts and
circumstances of the case, and the consequences of the plea.

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I. GENERAL PROVISIONS

29. Entire Agreement. This Plea Agreement, and any attachments, is the
entire agreement between the parties. Any modifications to this Plea Agreement
must be in writing and signed by all parties.

30. Public Interest. The parties state this Plea Agreement is in the public
interest and it takes into account the benefit to the public of a prompt and certain
disposition of the case and furnishes adequate protection to the public interest and is
in keeping with the gravity of the offense and promotes respect for the law.

31. Execution/Effective Date. This Plea Agreement does not become valid
and binding until executed by each of the individuals (or their designated
representatives) shown below.

J. SIGNATURES

32. Defendant. I have read all of this Plea Agreement and have discussed

 

it with my attorney. I fully understand the Plea Agreement and accept and agree to
it without reservation. I do this voluntarily and of my own free will. No promises
have been made to me other than the promises in this Plea Agreement. I have not
been threatened in any way to get me to enter into this Plea Agreement. I am
satisfied with the services of my attorney with regard to this Plea Agreement and
other matters associated with this case. Iam entering into this Plea Agreement and
will enter my plea of guilty under this Plea Agreement because I committed the crime

to which I am pleading guilty. I know that I may ask my attorney and the judge any

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questions about this Plea Agreement, and about the rights that Iam giving up, before
entering into the plea of guilty.
4.1 /- 107) NV i wy Cert renin

Date NICOLE POOLE FRANKLIN

33.  Defendant’s Attorney. I have read this Plea Agreement and have
discussed it in its entirety with my client. There is no Plea Agreement other than
the agreement set forth in this writing. My client fully understands this Plea
Agreement. Iam satisfied my client is capable of entering into this Plea Agreement,
and does go voluntarily of Defendant’s own free will, with full knowledge of
Defendant’s legal rights, and without any coercion or compulsion. I have had full
access to the Government’s discovery materials, and I believe there is a factual basis
for the plea. I concur with my client entering into this Plea Agreement and in
entering a plea of guilty pursuant to the Plea Agreement.

T-U[-bai

Date

    

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34. United States. The Government agrees to the terms of this Plea

 

Agreement.

4) 2a (2. By: wh of Ws,
Date Richard D. Westphal

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